                 Case 5:20-cv-00746-JKP Document 2-3 Filed 06/24/20 Page 1 of 1

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                                                                                  br Ekeland
                                                                                  Managing Partner

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                                                                                  (718) 77-7264
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                         I                                                        tortorekeIand.com
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                                              June 23, 2020



        VIA HAND DELIVERY
                                                 SA20CA0746 JKP
        U.S. DISTRICT CLERK'S OFFICE
        655 E CESAR E CHAVEZ BLVD RM G65
        SAN ANTONIO, TX 78206-1106



        RE: Pro Hac Vice Admission for Tor B. Ekeland

        To the Clerk of the Court:

        Attached please find the Motion and Order for Pro Hac Vice admission to the U.S. District
        Court, Vstern District of Texas for appearance on behalf of our chents Melody Joy Cantu
        and Dr. Rodngo Cantu.

        Due to the COVI D-19 cnsis in New York the New York we were unable to obtain a new
        Certificate of Good Standing in person, copies requested by mail from the courts will not
        arrive in time for this filing. W&ve attached a screenshot from the New York Unified Court
        System, dated this week, showing my current status as well as a copy of an older
        Certificate of Good Stardng. We are wilting to provide a new copy as soon as one has
        been received.

        Sincerely,




            tc
        Tor Ekeland
                      tW.
